                     UNITED STATES DISTRICT COURT
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION



                               )
 IN RE: REALPAGE, INC., RENTAL )            Case No. 3:23-md-3071
 SOFTWARE ANTITRUST LITIGATION )            MDL No. 3071
 (NO. II)                      )
                               )            Chief Judge Waverly D.
                               )            Crenshaw, Jr.
                               )
                               )            JURY DEMAND
                               )
                               )            This Document Relates to:
                               )            ALL CASES


     PLAINTIFFS’ MEMORANDUM OF LAW IN OPPOSITION TO CERTAIN
    DEFENDANTS’ MOTION TO DISMISS FOR FAILURE TO PLEAD AGENCY
                            LIABILITY




Case 3:23-md-03071   Document 384   Filed 07/24/23   Page 1 of 18 PageID #: 3411
I.             INTRODUCTION

       Defendants Avenue5 Residential, LLC (“Avenue5”), Bozzuto Management Company

(“BMC”), FPI Management, Inc. (“FPI”), Pinnacle Property Management Services, LLC

(“Pinnacle”), and ZRS Management, LLC (“ZRS”) (collectively, “the Property Management

Defendants”) move this Court to dismiss claims against them on the erroneous grounds that they

are mere agents of property owners, and so have not independently joined and participated in the

conspiracy Plaintiffs allege. Property Management Defendants’ contention that they are mere

innocent agents, however, cannot be squared with the plausible allegations in Plaintiffs’ First

Amended Consolidated Class Action Complaint. 1

       Plaintiffs allege that the Property Management Defendants—large, sophisticated

companies each managing between 60,000 and 180,000 apartment units nationwide—did more

than just passively accept rent payments on behalf of building owners. The Complaint alleges how

each type of Defendant (whether property manager, owner, or RealPage 2) implemented and

contributed to the conspiracy. As for the Property Management Defendants, Plaintiffs allege that

each used RealPage’s Revenue Management Solutions (“RMS”) software in managing their rental

properties “with the explicit and common goal of increasing rents for all members of the cartel.”

¶¶ 10, 22, 27, 48, 51, 63, 75, 90, 116, 121, 141, 153, 174. Plaintiffs allege that the Property

Management Defendants did so with the specific intent to artificially inflate rental prices and

restrict the supply of apartment units. ¶¶ 4-5, 174. By using the RMS software, the Property

Management Defendants themselves directly and affirmatively provided confidential, proprietary

data to RealPage, including actual rents paid, occupancy rates, and other information regarding



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  Unless specified otherwise, all references to “¶” or “¶¶” are to paragraphs from Plaintiffs’ First
Amended Consolidated Class Action Complaint (the “AC” or “Complaint”).
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  Unless otherwise defined herein, all terms are used as defined in the Complaint.


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Case 3:23-md-03071         Document 384        Filed 07/24/23      Page 2 of 18 PageID #: 3412
their lease transactions, to feed into RealPage’s RMS software to the benefit of all conspirators.

¶ 224. And finally, to ensure the success of the scheme, the Property Management Defendants

enforced the internal adoption of RealPage’s pricing recommendations, including by hiring

dedicated revenue managers trained by RealPage to monitor compliance with RealPage’s pricing

decisions, tying compensation for personnel to compliance, and conducting performance reviews

directly with RealPage to manage acceptance rates. ¶¶ 7, 9, 154-55, 162, 180. These allegations,

taken together, are more than enough to plead the Property Management Defendants’ conscious

commitment to a common scheme to fix the prices of multifamily rental housing.

       In sum, Plaintiffs allege that the Property Management Defendants were not only knowing

participants in the conspiracy, but as the parties that provided RealPage with the competitively

sensitive data for the units they managed, also integral to its success. The Court should deny the

Property Management Defendants’ motion in its entirety.

II.    LEGAL STANDARD

       In analyzing a motion to dismiss, courts “construe the complaint in the light most favorable

to the plaintiff and accept all allegations as true.” Elec. Merchant Sys. LLC v. Gaal, 58 F.4th 877,

882 (6th Cir. 2023) (citation omitted); Fritz v. Charter Township of Comstock, 592 F.3d 718, 722

(6th Cir. 2010).

       While Twombly requires a complaint to “contain factual matter sufficient to identify which

allegations pertain to which defendant,” City of Pontiac Police & Fire Ret. Sys. v. Jamison, 2022

WL 884618, at *9 n.12 (M.D. Tenn. Mar. 24, 2022), “[d]ismissal is not required merely because

Plaintiffs did not name each Defendant in the allegations pleaded in support of their Sherman Act

claim.” In re Auto. Parts Antitrust Litig., 2017 WL 7689654, at *7 (E.D. Mich. May 5, 2017)

(citations omitted). “‘[L]ump[ing] Defendants together at [] points in the Complaint” where the




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Case 3:23-md-03071         Document 384        Filed 07/24/23      Page 3 of 18 PageID #: 3413
allegations apply generally to all Defendants “does not negate or undermine” the validity of the

complaint. Rodriguez v. Providence Cmty. Corr., Inc., 191 F. Supp. 3d 758, 772-73 (M.D. Tenn.

2016).

III.       ARGUMENT

           A. The Property Management Defendants Were Directly Involved in the Antitrust
              Cartel.

           The Complaint details numerous allegations illustrating how the Property Management

Defendants affirmatively and directly participated in the conspiracy—beyond just accepting rent

payments on behalf of building owners. The Complaint alleges that each Property Management

Defendant used RealPage’s RMS software in connection with its management of multifamily

rental properties. ¶¶ 10, 27, 48, 51, 63, 75, 90. The Property Management Defendants had direct

and substantial roles in adopting RealPage’s pricing recommendations at supracompetitive levels,

manipulating other lease terms, and sharing non-public, proprietary information with RealPage for

the benefit of all other conspirators (including other property managers). For example:

       •   The Property Management Defendants “outsource[d] lease pricing decisions to RealPage’s

           RMS,” and “accept[ed] RealPage’s pricing ‘recommendations.’” ¶¶ 116, 121, 141, 153.

           “The price acceptance process begins with the Community Manager[s],” who are

           “individuals who work for the property management company,” and are “responsible for

           reviewing RealPage’s daily pricing recommendations.” ¶ 141 n. 97. And RealPage

           “push[ed] to ensure property managers . . . accept its price and lease term

           recommendations.” ¶ 129.

       •   In at least one instance, Property Management Defendant, Pinnacle, used RealPage to

           “avoid a situation where there were a significant number of units renewing at the same




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Case 3:23-md-03071           Document 384       Filed 07/24/23    Page 4 of 18 PageID #: 3414
       time,” by adopting RealPage’s recommendations for a 10-month lease instead of a 12-

       month lease. ¶ 22.

   •   The Property Management Defendants communicated directly and frequently with

       RealPage by interfacing directly with RealPage Pricing Advisors “to [receive] training and

       guidance on RealPage’s Revenue Management Solutions and to discuss specific aspects of

       the system and its processes.” ¶¶ 125 n.5, 163. On-site managers, regional managers, and

       even “senior ranking executives from the property management companies,” including

       Vice Presidents and Asset Managers, routinely interfaced with RealPage on a periodic

       (such as quarterly) basis. Id.

   •   The Property Management Defendants themselves directly supplied confidential,

       proprietary data to RealPage. “[P]roperty managers . . . input data on actual rents paid and

       occupancy rates, along with records of lease transactions.” ¶¶ 5, 224. “This data, which

       would normally be kept private, is fed into RealPage’s RMS algorithm(s) which set

       coordinated rents among competing property managers.” ¶ 224. The Property Management

       Defendants provided this commercially sensitive information knowing it would be used to

       assist them and their competitors. ¶¶ 5, 7, 116, 224.

   •   The Property Management Defendants also directly enforced compliance with RealPage’s

       leasing recommendations. “RealPage’s largest property management clients have their

       own internal revenue managers who have undergone extensive training provided by

       RealPage” “to monitor the client[]s’ compliance with RealPage’s pricing decision.” ¶ 7.

       “Property management companies’ executives placed pressure on their leasing managers

       to implement RealPage’s prices,” including tying “compensation for certain property

       management personnel . . . to compliance with RealPage’s pricing recommendations.”




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Case 3:23-md-03071          Document 384      Filed 07/24/23      Page 5 of 18 PageID #: 3415
       ¶¶ 9, 162, 180. And beginning in late 2019, “property management companies monitor[ed]

       acceptance rates more closely within their own ranks” using RealPage’s Price Optimization

       2 product that “Regional Managers or Vice Presidents from the property management

       company” reviewed in conjunction RealPage Pricing Advisors. ¶¶ 154-55.

       These allegations, taken as true and evaluated holistically with the other allegations in the

Complaint, demonstrate the Property Management Defendants’ substantial participation in the

antitrust conspiracy. Plaintiffs have sufficiently pled “specific misconduct attributable” to the

Property Management Defendants to support their liability as direct contributors to the price-fixing

cartel. Prodanova v. H.C. Wainwright & Co., LLC, No. LA CV17-07926-JAK (ASx), 2018

8017791, at *10 (C.D. Cal. Dec. 11, 2018).

       B. Plaintiffs Sufficiently Plead the Property Management Defendants’ Liability as
          Agents.

       Not only do the Property Management Defendants ignore the well-pleaded allegations

about their own involvement in the antitrust conspiracy, but they also rely on an agency theory to

claim they cannot be held liable for the conduct of the owners of the properties that they manage.

However, “if an agent commits a tort in the course of his agency, ‘the fact of agency will not

relieve him of liability, and this is so even though the principal may be liable also.’” Lambert v.

Kazinetz, 250 F. Supp. 2d 908, 915 (S.D. Ohio 2003); see also B&L Mgmt. Grp., LLC v. Adair,

2019 WL 3459244, at *7 (W.D. Tenn. July 31, 2019).

       That general rule holds equally true in the antitrust context: “[O]ne’s status as an ‘agent’

for some purposes does not mean that he lacks conspiratorial capacity with its principal in other

respects.” Areeda & Hovenkamp, Antitrust Law: An Analysis of Antitrust Principles and Their

Application, ¶ 1473d2 (2021); see also C & W Constr. Co. v. Bhd. of Carpenters & Joiners of Am.

Local 745, AFL-CIO, 687 F. Supp. 1453, 1464-65 (D. Haw. 1988) (rejecting “claim that [agents]



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Case 3:23-md-03071         Document 384        Filed 07/24/23      Page 6 of 18 PageID #: 3416
cannot be held liable under the antitrust laws because they were acting entirely within the scope of

their authority as agents” because “[t]his argument ignores basic precepts of agency law”). 3 An

agent may be liable for the acts of its principal in an antitrust conspiracy if the agent: (1) had

knowledge of the principal’s unlawful objective to restrain trade (e.g., ¶¶ 5, 18, 116, 171, 174); (2)

intended to restrain trade rather than simply earn its usual and customary commission (e.g., ¶¶ 5,

174); and (3) contributed materially to the restraint (e.g., ¶¶ 5, 7, 9-10, 22, 27, 48, 51, 63, 75, 90,

116, 121, 125, 141, 153-55, 162-63, 180, 224). See In re Fresh & Process Potatoes Antitrust Litig.,

834 F. Supp. 2d 1141, 1170 (D. Idaho 2011); Marion Diagnostic Ctr., LLC v. Becton Dickinson

& Co., 29 F.4th 337, 350 (7th Cir. 2022); 4 see also Brown v. Donco Enters., Inc., 783 F.2d 644,

646 (6th Cir. 1986) (per curiam) (“It is undisputed that a corporation’s officers and agents may be

held individually liable for corporate actions that violate the antitrust laws if they authorize or



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  Moreover, the agency exception to antitrust liability that the Property Management Defendants
appear to invoke does not apply to horizontal restraints of trade involving competitors at the same
level in an industry, like in the case here. See Areeda & Hovenkamp ¶ 1473f (noting “the
importance of distinguishing vertical and horizontal restraints when considering agency,”
“exclud[ing]” horizontal agreements from the agency exception); see also id. ¶ 1473f (“[N]one of
[the policy justifications for an agency exception] make[] any difference in the case of a horizontal
agreement”) (discussing U.S. v. Apple, Inc., 952 F. Supp. 2d 638 (S.D.N.Y. 2013), aff’d 791 F.3d
290 (2d Cir. 2015); In re Elec. Books Antitrust Litig., 859 F. Supp. 2d 671, 690 (S.D.N.Y. 2012)).
For example, in In re Sulfuric Acid Antitrust Litig., the court rejected the “broad proposition” “that
companies in an agency relationship cannot conspire to commit violations of § 1 of the Sherman
Act,” where, as here, the defendant’s “role as [a] sales agent [for a principal] merely streamlined
the process by which the two . . . companies [aided the principal’s] co-conspirators” in a horizontal
cartel.” 743 F. Supp. 2d 827, 886 (N.D. Ill. 2010) (emphasis added). The court concluded that
because the agent assisted its principal’s participation in a horizontal restraint, “the agency
relationship d[id] not insulate [the agent or principal] from liability under the Sherman Act.” Id.
The same is true here.
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   The Property Management Defendants’ reliance on these cases is misplaced. In Marion
Diagnostic Center, there were no allegations about the distributor agents’ knowledge of the
conspiracy. 29 F.4th at 350. And similarly, in In re Fresh & Process Potatoes, the plaintiffs asked
the court to infer the marketing agents’ knowledge despite not alleging any facts supporting that
knowledge. 843 F. Supp. 2d at 1170. Nonetheless, these cases stand for the proposition that an
agent cannot escape liability for an antitrust conspiracy once the requisite circumstances have been
pleaded.


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Case 3:23-md-03071          Document 384        Filed 07/24/23       Page 7 of 18 PageID #: 3417
participate in the unlawful acts.”); In re Se. Milk Antitrust Litig., 555 F. Supp. 2d 934, 949 (E.D.

Tenn. 2008) (“The Sixth Circuit unequivocally held that corporate ‘officers and agents may be

held individually liable for corporate actions that violate the antitrust laws if they authorize or

participate in the unlawful acts.’”); Northstar Energy LLC v. Encana Corp., 2014 WL 5343423,

at *13 (W.D. Mich. Mar. 10, 2014) (“Agents of a corporation can be held liable for violating

antitrust laws if they are ‘actively and knowingly engaged in a scheme designed to achieve

anticompetitive ends.’”). 5

       Plaintiffs allege all requisite elements to establish the Property Management Defendants’

liability as agents of the building owners. As a preliminary matter, it is undisputed that the Property

Management Defendants are agents of the building owners. See Dkt. 345 at 5, 8-9. As to liability,

Plaintiffs first allege that the Property Management Defendants each knew about the unlawful

objective of the conspiracy facilitated by RealPage and intended to accomplish its end, namely, to

artificially inflate rental prices and diminish the supply of multifamily rental units through their

use of RMS: “Property managers agree to adopt RealPage’s pricing up to 80%-90% of the time,

knowing that if they, along with their co-conspirators, adhere to RealPage’s pricing decisions, they

will collectively raise market prices and avoid price competition.” ¶ 5 (emphases added). Plaintiffs

further allege that “[p]roperty managers who use Defendant RealPage’s RMS do so with the

explicit and common goal of increasing rents for all members of the cartel by using coordinated

algorithmic pricing.” ¶ 174 (emphasis added); see also ¶ 129 (former RealPage Pricing Advisor




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  See also Reifert v. S. Cent. Wisc. MLS Corp., 368 F. Supp. 2d 912, 913 (W.D. Wis. 2005) (holding
liability extends to those who “knowingly participate[] in effecting the illegal contract,
combination, or conspiracy . . . regardless of whether he is acting in a representative capacity.”);
Bergians Farm Dairy Co. v. Sanitary Milk Producers, 241 F. Supp. 476, 482 (E.D. Mo. 1965)
(“Corporate officers, directors and agents are personally liable for acts of the corporation that
violate the antitrust laws if they participate in those actions or authorize them.”).


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Case 3:23-md-03071            Document 384      Filed 07/24/23       Page 8 of 18 PageID #: 3418
confirming RealPage pushed clients to accept its “price and term recommendations at least 80%

of the time.”).

        Second, not only do Plaintiffs allege that the Property Management Defendants knew about

and intended to effectuate the scheme, but as detailed above, Plaintiffs also allege that the Property

Management Defendants were integral to the scheme’s success. The Property Management

Defendants each used RealPage’s RMS software, by “outsourc[ing] lease pricing decisions to

RealPage’s RMS,” “accept[ing] RealPage’s pricing ‘recommendations,’” and even relying on

RealPage for other leasing terms such as renewals. See, e.g., ¶¶ 10, 22, 27, 48, 51, 63, 75, 90, 116,

121, 125, 141, 153, 163. The Property Management Defendants communicated frequently with

RealPage, and supplied confidential, proprietary leasing data to them, including rents paid,

occupancy rates, and lease transaction records, all of which enabled RealPage’s RMS algorithm to

set coordinated rents among the Property Management Defendants and their other competitors.

¶¶ 5, 7, 116, 224. The Property Management Defendants also directly enforced the adoption of

RealPage’s leasing recommendations, by “monitor[ing] . . . compliance,” “pressur[ing] . . . their

leasing managers,” and tying “compensation for certain property management personnel” to the

acceptance of RealPage recommendations. ¶¶ 7, 9, 162, 180, 154-55. These allegations

demonstrate the Property Management Defendants “actively and knowingly engaged” in the

scheme, not merely accepted rent payments on behalf of building owners passively. Northstar

Energy LLC, 2014 WL 5343423, at *13.

        Although not necessary to state a claim, Plaintiffs also allege that each Property

Management Defendant had a strong motive to conspire, as each could (and did) increase its profits

significantly as it increased revenues and profits for building owners. ¶¶ 10, 20, 225. Opposing

those allegations, Defendants improperly rely on caselaw evaluating economic motive at the




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Case 3:23-md-03071         Document 384         Filed 07/24/23      Page 9 of 18 PageID #: 3419
summary judgment or trial stages (see Dkt. 345 at 13-17)—which are decided under a different

standard than motions to dismiss at the pleading stage. See Riverview Invs., Inc. v. Ottawa Cmty.

Improvement Corp., 899 F.2d 474, 483-84 (6th Cir. 1990) (affirming judgment notwithstanding

the verdict where plaintiffs failed to establish motive to conspire, given the ambiguous evidence

introduced at trial); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 575 (1986)

(reversing summary judgment where the lower court failed to consider the absence of a plausible

motive to engage in predatory pricing); Anderson News, L.L.C. v. Am. Media, Inc., 899 F.3d 87,

112-13 (2d Cir. 2018) (affirming summary judgment where plaintiff presented insufficient

evidence of a common motive to conspire).

       Finally, whether the Property Management Defendants were parties to the actual leases

with tenants (see Dkt. 345 at 6, 11) is irrelevant, because each is alleged to have had the

independent authority to implement and enforce the adoption of RealPage’s leasing

recommendations. See, e.g., ¶¶ 5, 7, 9, 11, 162, 180, 154-55.

       C. Plaintiffs Did Not Engage in Impermissible Group Pleading.

       Under Fed. R. Civ. P. 8(a)(2) and Twombly, Plaintiffs are obligated to provide each

defendant “fair notice of what the . . . claim is and the grounds upon which it resets.” Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 555 (2007). Property Management Defendants label the

Complaint as “group pleading.” But the Complaint plausibly alleges exactly how each Lessor

Defendant, including the Property Management Defendants, was involved in the conspiracy—

through each Lessor Defendant’s use of RealPage’s RMS to manage its properties. ¶¶ 10, 27, 48,

51, 63, 75, 90. Further, as discussed above, the Complaint lays out the actions specific to property

managers made in furtherance of the conspiracy.




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Case 3:23-md-03071        Document 384        Filed 07/24/23      Page 10 of 18 PageID #: 3420
       Group pleading does not exist where, as here, the complaint “specifically alleges that each

Defendant agreed to participate in the conspiracy.” Iowa Pub. Employees’ Ret. Sys. v. Merrill

Lynch, Pierce, Fenner & Smith Inc., 340 F. Supp. 3d 285, 317 (S.D.N.Y. 2018). The Property

Management Defendants’ argument relating to group pleading appears to suggest the use of the

term “Lessor Defendants,” as opposed to “Property Management and Owner Defendants” as

somehow fatal to Plaintiffs’ claim. That Plaintiffs “‘lump’ Defendants together at [certain] points

in the Complaint does not negate or undermine” allegations merely because each Defendant acted

in a similar fashion. Rodriguez, 191 F. Supp. 3d at 773 (“Plaintiffs allege an overarching

conspiracy that unites the Defendants . . . [O]ne might read Plaintiffs’ decision to distinguish

between the Defendants at various points in the Complaint but not at others to indicate that when

they do use the term ‘Defendants,’ they intend to impute that allegation to all Defendants.”); see

also PFS HR Sols., LLC v. Black Wolf Consulting, Inc., 2018 WL 5263031, at *2 (E.D. Tenn. June

28, 2018).

       Moreover, Property Management Defendants admit that the Complaint “refers to [property

managers and building owners] separately in various places” when such distinctions are relevant

to Plaintiffs’ claims. See Dkt. 345 at 9 (emphasis added). As explained above, Plaintiffs offer facts

specific to the property managers, including the Property Management Defendants, demonstrating

their participation in the conspiracy. Each of the Property Management Defendants adopted

RealPage’s RMS software, and each agreed to rely upon and enforce the use of RealPage’s lease

recommendations. See, e.g., ¶¶ 7, 9-10, 22, 27, 48, 51, 63, 75, 90, 116, 121, 141, 153-55, 162, 180.

The Property Management Defendants also frequently communicated with RealPage to provide

proprietary leasing information and facilitate the conspiracy. ¶¶ 125, 163, 224. Property

Management Defendants participated in forums and conferences that RealPage hosted specifically




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Case 3:23-md-03071        Document 384         Filed 07/24/23      Page 11 of 18 PageID #: 3421
for them, through which they discussed and shared RealPage practices. ¶¶ 227-29. The Property

Management Defendants also ensured compliance with RealPage recommendations. ¶¶ 7, 9, 154-

55, 162-80. These allegations are specific to property managers, including the Property

Management Defendants. These allegations are also a far cry from “the type of ‘everyone did

everything’ allegations that warrant the application of the group pleading rule.” 6

       Defendants rely on In re Travel Agent Comm’n Antitrust Litig. and Total Benefits Plan, but

these cases illustrate the difference between impermissible group pleading and the Complaint here.

In Travel Agent, the plaintiffs had no allegations tying the defendants to any common design or

understanding. 2007 WL 3171675, at *3 (N.D. Ohio, Oct. 29, 2007), aff’d 583 F.3d 896 (6th Cir.

2009). And the complaint in Total Benefits was just eleven pages, three of which were the case

caption. See Total Benefits Plan. Agency Inc. v. Anthem Blue Cross & Blue Shield, 2006 WL

3855349 (S.D. Ohio); see also 630 F. Supp. 2d 842, 851 (S.D. Ohio 2007), aff’d 552 F.3d 430 (6th

Cir. 2008). In contrast, the AC contains over 100 pages of detailed allegations, specifically linking

the Property Management Defendants to the conspiracy.

       Thus, the AC adequately puts the Property Management Defendants on notice of the claims

against them under Fed. R. Civ. P. 8(a)(2) and Twombly. It alleges actions undertaken by all Lessor

Defendants (including Property Manager Defendants) in acquiescing to the conspiracy through

use of RealPage’s RMS. The AC contains detailed factual allegations concerning the types of

conduct in which property managers, including Property Management Defendants, engaged in




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 Prodanova, 2018 WL 8017791, at *10 (citing Destfino v. Resiwig, 630 F.3d 952, 958 (9th Cir.
2011)); see also In re TFT-LCD (Flat Panel) Antitrust Litig., 599 F. Supp. 2d 1179, 1185 (N.D.
Cal. 2009) (rejecting defendants’ group pleading challenge because “[t]he complaints allege a
complex, multinational price-fixing conspiracy and, taken as a whole, they sufficiently allege each
defendants’ participation in that conspiracy, as well as present a factual basis for the allegations of
agency”).


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Case 3:23-md-03071         Document 384         Filed 07/24/23      Page 12 of 18 PageID #: 3422
furtherance of the conspiracy. That alleged conduct is specific to the Property Management

Defendants and not to building owners.

IV.    CONCLUSION

       Plaintiffs have plausibly stated claims against the Property Management Defendants.

Plaintiffs allege that the Property Management Defendants knew about the unlawful conspiracy to

artificially increase rental prices and diminish the supply of rental housing—and participated in

the conspiracy with the intent to do so. The Property Management Defendants also contributed

materially to the scheme, by supplying confidential, proprietary data to RealPage to facilitate the

rent-fixing and enforcing price discipline through internal measures, as well as direct

communications with RealPage.

       For the foregoing reasons, Plaintiffs respectfully request that the Property Management

Defendants’ Motion to Dismiss for Failure to Plead Agency Liability be denied in its entirety.



Dated: July 24, 2023                       /s/ Tricia R. Herzfeld
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                                                12
Case 3:23-md-03071        Document 384        Filed 07/24/23     Page 13 of 18 PageID #: 3423
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                                        13
Case 3:23-md-03071   Document 384     Filed 07/24/23     Page 14 of 18 PageID #: 3424
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                                        14
Case 3:23-md-03071   Document 384     Filed 07/24/23     Page 15 of 18 PageID #: 3425
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                                         15
Case 3:23-md-03071      Document 384   Filed 07/24/23   Page 16 of 18 PageID #: 3426
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                                        16
Case 3:23-md-03071   Document 384     Filed 07/24/23     Page 17 of 18 PageID #: 3427
                                CERTIFICATE OF SERVICE

       I hereby certify that on July 24, 2023, I caused the foregoing to be electronically filed with

the Clerk of the Court using the CM/ECF system, which will send notification of such filing to the

email addresses denoted on the Electronic Mail Notice List.

                                              /s/ Tricia R. Herzfeld
                                              Tricia R. Herzfeld




                                                17
Case 3:23-md-03071        Document 384        Filed 07/24/23      Page 18 of 18 PageID #: 3428
